. JZ ar _ *._g477 Wéodson Road, Suite 200
. “St Louis, MO 63134 '

Phone: (314) 428-2662 ext-207
FAX: (314) 428-2975 °.

US. Customs and
j Border:Proteéction

6573 Crisp Avenue Getecfroy tI 3 CRIs /O A Vee ‘ a
Raytown, Missouri 64133 22 ne ae

Certified Mail: 7008 0600 0023 17832438
" Sent Certified and First Class. Mail i ae
FP&F Case Number 2(09'4501 000082.01 =

Dear Sir:

- $40,000 (Forty Thousand Dollars U.S. Currency) IP ans Sees

2004 BMW 760. LX, VIN WBAGN8484DK10824 Domestic Value $23,900.00 Pree hong
2004 Cadillac Escapade, VIN 3GYFKF66N84G268451 Domestic. Value $1 1,950.00 bbiacce'
2005 Chevrolet Corvette, VIN 1G14¥22U855128951 Domestic Value $26,900.00

"The property was seized and is subject to administrative forfeiture under the provisions of Title 21 United oe
States Code Section 88 1,841 and 846 in regards to the smuggling of narcotics in the United States.

“Election of Proceedings” form if you wish to contest the forfeiture of the seized property. You may need
to complete the “Seized Asset Claim F, orm,” depending on how you complete thé “Election of
Proceedings” foim,- - - - . ne aries gee
_ Your legal options are as follows:

1. You may file a petition for relief from the seizi ire within 30 days from the date of this letter. The

2. : You may file an offer in compromise within 30 days from the date of this letter. The provisions of
title 19, United States Code 161 7, allow you to do this. The offer must specifically indicate that you
are making it. under the provisions of title 19, Untied States Code, section 1617, If you are offering

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 1 of 11
Po 5

money in settlement of the case, you must include a cashier’s check in the amount of your offer. CBP
may ONLY consider the amount of your offer and will return the full offer if it is rejected. This
option may serve to delay the case. If you choose this option you must check Box 1 on the “Election

of Proceedings” form.

3. You may submit an offer to pay the full appraised domestic value of the seized property accompanied
by that full payment or an irrevocable letter of credit. The provisions of title 19, United States Code,
section 1614, and title 19, Code of Federal Regulations, section 162.44, allow you to do this. If CBP
accepts your offer, the property will be immediately released and the payment or letter of credit will
be substituted for the seized property. You may still submit a petition or offer in compromise as

described above.

4. You may choose to do nothing. If you take no action, or if you check Box 2 on the “Election of
Proceedings” form, CBP will seek to forfeit the property. CBP will immediately commence
administrative forfeiture proceedings under the legal authority of title 19, United Sates Code (USC),
section 1607, and title 19, Code of Federal Regulations (CFR), Part 162. In order to obtain
administrative forfeiture, CBP must publish a notice of seizure and intent to forfeit in a newspaper of
general circulation in the area in which the property was seized for three consecutive weeks or post
the notice of seizure and intent to forfeit on a bulletin board in the area Port Office for twenty-one
days. CBP will commence such publication or posting on or about one week after your 30 day reply
period to respond to this notice lapses. You may request that this office publish the first notice sooner

than the date above.

5. You may abandon the property. If you choose this option, please check Box 2 and sign and return the
“Election of Proceedings” form.

6. You may choose to file a claim and have that claim referred to the United States Attomey for the
commencement of a court forfeiture action. If you choose this option YOU MUST CHECK BOX 3
ON THE “ELECTION OF PROCEEDINGS” FORM AND YOU MUST FULLY COMPLETE THE
ATTACHED “SEIZED ASSET CLAIM FORM.” If you choose to file a claim directly in response to
this letter, you must do so within 35 days of the date of this letter.

If you are a holder of a lien or security interest and you do not file a claim, you may avail yourself of any
of the other options listed above, but no relief will be granted to you until after forfeiture unless your
petition, offer or request is accompanied by an agreement to hold the United States, its officers and
employees harmless, and a release from the registered owner and/or the person from whom the property

was seized,

No matter which box you check on the “Election of Proceedings” form, you must also sign and return the
form along with your petition, offer, or claim.

If you have any questions regarding this matter, please contact the below signed at the phone/fax printed

above.

Sincerely,

-

Als
Jaunieakibe
Fines, Penalties & Forfeitures Officer
Service Port of St. Louis, Missouri

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 2 of 11

~ a

UNITED STATES CUSTOMS AND BORDER PROTECTION
SEIZED ASSET CLAIM FORM

Name: felipe Desir Se A. Seizure No:o4 00 7 ¢saf J000F20 |

Address: Uen20 Béf left Pasece.
YBeasAs City, SHO. 6S FA (IMPORTANT: BE SURE TO

Telephone No: (#76) 363-7/5°7 COMPLETE ALL PARTS BELOW)

As authorized by 18 U.S.C. 983(a)(2)(A), I request that the Government file a complaint for forfeiture on
the seized property described below: .

PARTI.

List all items in which you claim an interest. Include sufficient information to identify the items, such as
serial numbers, make and model numbers, aircraft tail numbers, photographs, and so forth. Attach
additional sheets of paper if more space is needed.

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PART I <a

State your interest in each item of property listed above. Provide any documents that Support your claim
of interest such as titles, registrations, bills of sale, receipts, and so forth. Attach additional sheets of
if ace I ded. <7 “A
paper if more space is needed. Ce rarcc c. its CH (COE ft, [Pet Ce fohercke /ebeas
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thebritaet Dig S2. | 5-22-09 kansas Cty Ma
Name (Print) Date G3 ¥
Fk a, Ween a iw.
Signature

A FALSE STATEMENT OR CLAIM MAY SUBJECT A PERSON TO
PROSECUTION UNDER 18 U.S.C. 1001 AND/OR 1621 AND IS PUNISHABLE
BY A FINE AND UP TO FIVE YEARS IMPRISONMENT.

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 3 of 11

Yy , rn
ELECTION OF PROCEEDINGS
CAFRA FORM AF

NOTE: THIS FORM MUST BE COMPLETED AND RETURNED WITH YOUR PETITION OR
OFFER. IF YOU DO NOT COMPLETE AND RETURN THIS FO , CUSTOMS AND BORDER
PROTECTION (CBP) SHALL PROCEED TO FORFEIT THE PROPERTY ADMINISTRATIVELY,
REGARDLESS OF WHETHER YOU FILE A PETITION OR OFFER.

TO: FINES, PENALTIES AND FORFEITURES OFFICER:

I understand that property in which I have an interest has been seized by CBP under Case No.
AOI YSO/ QWIL20 /

Check ONLY ONE (1) of the following choices:

l. hf T REQUEST THAT CBP DELAY FORFEITURE PROCEEDINGS AND CONSIDER MY
PETITION OR OFFER ADMINISTRATIVELY. My petition or offer is attached. By making this
request, I understand that I am giving up my right for the immediate commencement of administrative
forfeiture proceedings, as provided under Title 19, United States Code (USC), section 1607 and Title 19,
Code of Federal Regulations (CFR), Part 162. If administrative forfeiture has begun, it will be stopped
until my petition or offer is considered. However, I understand that af any time I can request, in writing,
that CBP begin administrative forfeiture proceedings and CBP will continue to consider my petition or
offer. I also understand that ar any time | can file a claim with CBP (as described in Box 3 below) and
CBP’s consideration of my petition or offer will stop and the case will be sent to the U.S. Attorney for

court action,

2. [ } [ABANDON THE PROPERTY AND I REQUEST THAT CBP BEGIN ADMIN ISTRATIVE
PROCEEDINGS TO FORFEIT THE PROPERTY. Please immediately begin publication of the notice of
seizure and intent to forfeit. I abandon any claim or interest in the property.

3. [ ] [REQUEST THAT CBP SEND MY CASE FOR COURT ACTION. Please immediately send the
case to the U.S. Attorney for court action. I have fully completed, signed and attached a SEIZED ASSET
CLAIM FORM as required by law. I understand that if] have not fully completed this form, CBP wiil
treat my submission as a petition for relief under Box 1 described above.

Signature Date

foltiag TaN get SA.

Printed Name

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 4 of 11
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Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 6 of 11
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4 Filed 05/23/16 ‘Page 7 of 11

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Case 4:16-cv-00493-BCW _~Docum
+ ~ 77 Woodson Road, Suite 200
~- Louis, MO 63134

Phone: (314) 428-2662 ext. 207
PAX: (314) 428-2975

U.S. Customs and
Border Protection

CIVIL ASSET FORFEITURE REFORM ACT
NOTICE OF SEIZURE OF PROPERTY

3
Date: August 5, 2009 Sy

Adrian Dunn
6813 Crisp
Raytown, Missouri 64133

Certified Mail: 7008 0150 0003 1439 8683
Sent Certified and First Class Mail
FP&F Case Number 2009 4501 000081 o!

Dear Sir:

Border Protection at Kansas City, Missouri on June 12, 2009:
. Men Seencel
$1,709.00 (One Thousand Seven Hundred Nine Dollars) U.S. Currency Pram te heathen.
1974 Chevy Caprice IN47R4J212607, Domestic Value $2,125.00 Aves PEF OF tHe

1975 Chevy Impala IL69H5]1 52475, Domestic Value $] 225.00
2004 GMC Yukon IGKEC13VGSR163592, Domestic Value $10,900.00

The property was seized and is subject to administrative forfeiture under the provisions of Title 2] United
States Code Section 881, 841 and 846 in regards to the smuggling of narcotics in the United States.

Proceedings” form and a “Seized Asset Claim Form.” You MUST check Box 1 or 3 and return the
“Election of Proceedings” form if you wish to contest the forfeiture of the seized property. You may need

to complete the “Seized Asset Claim Form,” depending on how you complete the “Election of
Proceedings” form, .

Your legal options are as follows:

1. You may file a petition for relief from

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 8 of 11
money in settlement of the case, you must include a cashier’s check in the amount of your offer, CBP
. may ONLY consider the amount of your offer and-will retuin the full offer if it is rejécted. This
_ Option may serve to delay the case. If you choose this.option you must check Box I on the “Election
of Proceedings” form. “i ois

3. You may submit an offer to pay the full appraised domestic value of the seized property accompanied
by that full payment or an irrevocable letter‘of credit. .The provisions of title 19, United States Code,
section 1614, and title 19, Code of Federal Regulations, section 162.44, allow you to do this. If CBP
accepts your offer, the. property will be immediately released and the payment.or letter of credit will
be substituted for thé seized property. You may still submit 4 petition or offer in.compromise as
described above. Peon OT aif

4. You'may choose to do nothing. If you take no action,-or if you check Box 2 on the “Election of

_.. Proceedings” form; CBP will seek to forfeit the property. CBP will immediately commence

_ administrative forfeiture proceedings under the legal authority of title 19, United Sates Code (USC),
section 1607, and title 19, Code of Federal Regulations (CFR), Part 162. In orderto obtain
administrative forfeiture, CBP must publish a notice of seizure arid fatent to forfeit in a newspaper of

_ general circulation in the area in which the property was seized for three consecutive weeks or post.
the notice of seizure and intent to forfeit on a bulletin-board in the area Port Office for twenty-one
days.. CBP will commence such publication or posting on.or about one week after your 30 day reply -
period to respond to this notice lapses. You may request that this office publish the first notice sooner
than the date above. ae ee id i:

5. You may abandon the property. If you choose. this option, please check Box 2 and sign and return the.
“Election of Proceedings” form. - Be ene Pe ce .

6. “You may choose to file a claim and have that claim referred to the United States Atiormey for the
commencement of a court forfeiture action. If you choose this option YOU MUST CHECK BOX3

- ON THE “ELECTION OF PROCEEDINGS” FORM AND YOU MUST FULLY COMPLETE THE
. ATTACHED “SEIZED ASSET CLAIM FORM.” If you choose.to file a claim directly in response to
this letter, you must do so within 35 days of the date of this letter... a ae
If you are a holder of a lien or security interest and you do not file a claim, you may avail yourself of any
. of the other options listed above, but no relief will be granted:to you until after forfeiture unless your
petition, offer or request is accompanied by an agreement to hold the United States, its officers and
employees harmless, and a release from the registered owner and/or the person from whom the property

was seized.

‘No matter which box you check on the “Election of Proceedings” form, you must also sign and retum the
form alorig with your petition, offer, or claim. 3 Be fhoee

If you have any questions regarding this matter, please contact the below signed at the phone/fax printed
above.

Sincerely;
Jaynite Zakibe

Fines, Penalties & Forfeitures Officer.
Service Port of St. Louis, Missouri

Case 4:16-cv-00493-BCW Document 1-1. Filed 05/23/16 Page 9 of 11

| ELECTION OF PROCEEDINGS _
pe ee Bo ‘CAFRAFORM AF

NOTE: THIS FORM MUST BE COMPLETED AND RETURNED WITH YOUR PETITION OR

__ OFFER. IF YOU DO NOT COMPLETE AND RETURN THIS FORM, CUSTOMS AND BORDER

PROTECTION (CBP) SHALL PROCEED TO.-FORFEIT THE PROPERTY ADMINISTRATIVELY,
REGARDLESS OF WHETHER YOU FILE A PETITION OR OFFER. oe ome
TO: FINES, PENALTIES AND FORFEITURES-OFFICER:

I understand that property in which I haye an interest has been seized by CBP under Case No.

2009 ¥SO/0000 8 Of.

"Check ONLY ONE (1) of the following choices:

“1. (M(TREQUEST THAT CBP DELAY FORFEITURE PROCEEDINGS AND CONSIDER MY

PETITION OR OFFER ADMINISTRATIVELY. My petition or offer is attached. By making this -_
request,-] understand that I am giving up my right for the immediate conumencement of administrative
forfeiture procéedings, as provided undet Title.19, United States Code (USC), section 1607 and Title 19,
Code of Federal Regulations (CFR), Part 162." If administrative forfeiture-has begun, it will be. stopped.

" until my petition or offer is considered. However, I understand that at any time I can request, in writing,

-that CBP begin administrative forfeiture proceedings and CBP will continue to consider my petition or _
offer. I also.understand that at any time I can file a claim with CBP (as described in Box 3 below) and

-. CBP’s consideration of my petition or offer will stop and the case will be sent to the U.S. Attorney for -

".., PROCEEDINGS TO FORFEIT THE PROPERTY. Please immediately begin publication of the notice of...
" seizure and intent to forfeit. I abandon any claim or interest in the property. Bours ee

court action. feet

2. [ ] JABANDON THE PROPERTY AND I REQUEST THAT CBP BEGIN ADMINISTRATIVE

3.. [ |. REQUEST THAT CBP SEND MY CASE FOR COURT ACTION, Please immediately send the

_ case to'the U:S. Attorney for court action. I have fully completed, signed and attached a SEIZED ASSET

. CLAIM FORM as required by law. I understand that if I have not fully. completed this form, CBP will’.

|. treat my submission as a petition for relief under Box.1 described above, -

Mba himwst “9-3-0
: Hiliiat Dest Sg

Printed Name

Case 4:16-cv-00493-BCW Document 1-1 Filed 05/23/16 Page 10 of 11

"Telephone No: (9G) Be3-7/S7 COMPLETE ALL PARTS BELOW) -

UNITED STATES CUSTOMS AND BORDER PROTECTION.
_ +, ‘SEIZED ASSET CLAIM FORM at

Name: Liege Duss - Seizure No: 2a 9 SS0/ QIIG/ 0 J
». Address: /620 AY Plo as Ha rele te ee —

GANS Che, laf (IMPORTANT: BESURETO

‘As authorized by 18 U.S.C, 983(a)(2)(A), I request that the. Government file a complaint for forfeiture on

"the seized property described below: .
“PARTI
- List all items in which you claim an interest. Include sufficient information to identify the items, such as’

serial numbers, make and-model numbers, aircraft tail numbers, photographs, and’so forth. Attach
additional sheets of paper if more space is needed. Se et

IO 7¥ Chevy Cojlt/ee (TWLIEYT £2057 \. ie

. PARTI -

- State your interest in each item-of property listed above. Provide any documents that. stipport your claim

of interest such as titles, registrations, bills of sale, receipts, and so forth. Attach additional sheets of

paper if more space is needed. Eee BUS: oe ip Le oy . Cour Susot | ray levy abwiok fete

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Naine (Print) Date

Signature. ie
| A FALSE STATEMENT OR CLAIM MAY SUBJECT A PERSON TO |

_' PROSECUTION UNDER 18 U.S.C, 1001 AND/OR 1621 AND IS PUNISHABLE
BY A FINE AND UP TO FIVE YEARS IMPRISONMENT, -

Case 4:16-cv-00493-BCW Document 1-1 Filed:05/23/16 Page 11 of 11

